Case 7:21-cr-00650-NSR Document 26-9 Filed 10/20/22 Page 1 of 2




                   Exhibit I
         Case 7:21-cr-00650-NSR Document 26-9 Filed 10/20/22 Page 2 of 2



To whom it may concern,



I sit here today writing a letter that I believed at one time would be for me...



My name is Kirk Womack. I am a 42 year old disabled combat veteran,former detention officer and Then
a Deputy Sheriff for Grayson County Texas. So I am intimately familliar with the way things are within
our system.

Aaron lives next door and his parents live directly across the street from me. I have a metal sign that
Aarons dad gave me. My family and I also attended Aaron and Amandas baby Shower for . I only
write this to establish that our friendship is more than simply waving accross the street.

I moved to New York with my wife and 2 kids about 3 years ago. Leaving my carreer in the dust after so
many times of inmates attempting to trap me in situations and almost falling for it. I think it unfortunate
that Aaron is in this situation. I also think it unfortunate that our current world is so eager to burn a
public servant and put the real criminals on the streets for the sake of whats socialy acceptable instead
of what is right.

Now that said, more and more people are becoming like parasites instead of productive citizens. Aaron
Finn is NOT one of these people. He is constantly going. Working. Taking care of his Parents. His Wife.
His newborn son . His wifes family etc... when he isnt working at his business he is fixing someone
elses car for them... probably for free too. People like Aaron are the small percentage that does a large
percentage of keeping the world going.

So to keep this letter simple and to the point. Please allow for no jail time for Aaron Finn on the principle
of him being a member of our society that is highly productive, with family values and Morals. Prison
time would only create in Aaron something that isnt there yet.



For your consideration with the utmost respect,

Kirk Womack
